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                                 UNITED STATES DISTRICT COURT

                                          DISTRICT OF MAINE

KATELYNN H.,                                                 )
                                                             )
                          Plaintiff,                         )
                                                             )
        v.                                                   )        1:23-cv-00429-SDN
                                                             )
LELAND DUDEK,1                                               )
Acting Commissioner of Social Security,                      )
                                                             )
                                                             )
                          Defendant.                         )

                   ORDER AFFIRMING RECOMMENDED DECISION

        On December 4, 2024, the United States Magistrate Judge filed with the Court,

with copies to counsel, her Report and Recommended Decision (ECF No. 20). The

Plaintiff filed an objection to the Recommended Decision on December 18, 2024 (ECF

No. 21). The Commissioner responded on December 31, 2024 (ECF No. 22). I have

reviewed and considered the Recommended Decision, together with the entire record; I

have made a de novo determination of all matters adjudicated by the Recommended

Decision; and I concur with the recommendations of the United States Magistrate Judge

for the reasons set forth in the Recommended Decision, and determine that no further

proceeding is necessary.

        It is therefore ORDERED that the Recommended Decision of the Magistrate Judge

is hereby AFFIRMED and ADOPTED. The decision of the Commissioner is AFFIRMED.




1 Leland Dudek became the Acting Commissioner of Social Security on February 19, 2025. Under Fed. R.
Civ. P. 25(d), when a public official who is a party in their official capacity ceases to hold an office, the
officer’s successor is automatically substituted as a party.
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     SO ORDERED.

     Dated this 12th day of March, 2025

                                              /s/ Stacey D. Neumann
                                              U.S. DISTRICT JUDGE




                                          2
